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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

IN RE:                                 :                  CASE NO: 09-77007-PWB
                                       :                  CHAPTER: 7
                                       :
DEMETRIUS DESHON KING                  :
      Debtor                           :
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BAC HOME LOANS SERVICING, LP FKA       :
COUNTRYWIDE HOME LOANS SERVICING, :
LP,                                    :
      Movant,                          :
                                       :                  CONTESTED MATTER
vs.                                    :
                                       :
DEMETRIUS DESHON KING                  :
SHARON S. BROWN, Trustee               :
      Respondents.                     :

                                NOTICE OF ASSIGNMENT OF HEARING

       NOTICE IS HEREBY GIVEN that BAC HOME LOANS SERVICING, LP fka COUNTRYWIDE
HOME LOANS SERVICING, LP filed a Motion for Relief from Automatic Stay with the Court seeking an
order modifying stay, and hearing will be held on the Motion for Relief from Automatic Stay in Courtroom
1401, United States Courthouse, 75 Spring Street, S.W., Atlanta, Georgia at 10:00 AM on September 30,
2009.

         Your rights may be affected by the court's ruling on these pleadings. You should read these pleadings
carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.) If you do not want the court to grant the relief sought in these pleadings
or if you want the court to consider your views, then you and/or your attorney must attend the hearing. You
may also file a written response to the pleading with the Clear at the address stated below, but you are not
required to do so. If you file a written response, you must attach a certificate stating when, how and on whom
(including addresses) you served the response. Mail or deliver your response so that it is received by the Clerk
at least two business days before the hearing. The address of the Clerk's Office is: Clerk, U.S. Bankruptcy
Court, 75 Spring Street S.W., Suite 1340, Atlanta, GA 30303. You must also mail a copy of your response to
the undersigned at the address stated below.
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        If a hearing on the Motion for Relief from Automatic Stay cannot be held within thirty (30) days,
Movant waives the requirement for holding a preliminary hearing within thirty days of filing the motion and
agrees to a hearing on the earliest possible date. Movant consents to the automatic stay remaining in effect until
the Court orders otherwise.

Dated: 8/21/09                                    /s/ Lisa F. Caplan
Lisa F. Caplan
Counsel for Movant
Georgia State Bar No. 001304
Rubin Lublin Suarez Serrano, LLC
3740 Davinci Court
Suite 100
Norcross, GA 30092
(888) 890-5309
lcaplan@rubinlublin.com
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
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IN RE:                              :                  CASE NO: 09-77007-PWB
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     Debtor                         :
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BAC HOME LOANS SERVICING, LP FKA :
COUNTRYWIDE HOME LOANS              :
SERVICING, LP,                      :
     Movant,                        :
                                    :                  CONTESTED MATTER
vs.                                 :
                                    :
DEMETRIUS DESHON KING               :
SHARON S. BROWN, Trustee            :
     Respondents.                   :

                      MOTION FOR RELIEF FROM AUTOMATIC STAY

       Comes now BAC HOME LOANS SERVICING, LP fka COUNTRYWIDE HOME LOANS

SERVICING, LP, its successors or assigns, a secured creditor of the above-named Debtor, and

respectfully shows the Court as follows:

                                                  1.

       DEMETRIUS DESHON KING, hereinafter known as Debtor, filed a Petition for Relief under

11 U.S.C. Chapter 13 on July 2, 2009, and is therefore subject to the jurisdiction of this Court. The

Bankruptcy Case converted to a Chapter 7 on August 11, 2009

                                                  2.

       This Court has jurisdiction over this Motion pursuant to 11 U.S.C. § 362.

                                                  3.

       BAC HOME LOANS SERVICING, LP fka COUNTRYWIDE HOME LOANS SERVICING,

LP, its successors or assigns, hereinafter known as Movant, is a secured creditor of Debtor pursuant to

a Note and Security Deed.       The mortgage is evidenced by a Promissory Note executed by
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DEMETRIUS KING, dated November 12, 2007, in the original principal amount of $139,560.00. The

mortgage Promissory Note is secured by a Security Deed executed by DEMETRIUS KING, dated

November 12, 2007, which conveys certain property located in DeKalb County, Georgia, now or

formerly known as 2532 LANCEWOOD LANE, LITHONIA, GA 30058. Said Security Deed is

recorded in Deed Book 20472, Page 227, DeKalb County, Georgia Records.

                                                    4.

        Movant affirmatively alleges that Debtor has failed to maintain the monthly mortgage

payments to Movant. As of the date of the filing of this Motion there is an arrearage deficiency of

$6,614.01. This figure is comprised of April, 2009 Monthly Mortgage Payment of $1,166.33, May,

2009 through July, 2009 Monthly Mortgage Payments (3 at $1,160.45 each) totaling $3,481.35,

August, 2009 Monthly Mortgage Payment of $1,166.33, Bankruptcy Fees and Costs of $800.00. The

above mentioned Note and Deed are in default due to nonpayment of the principal and accruing

interest.

                                                    5.

        Movant shows that the total debt owing on this loan is approximately $144,421.24. The fair

market value of this property is $109,100.00 pursuant to DeKalb County Property Assessor. Movant

further alleges that there appears to be little or no equity in Movant's secured property. Since the

Debtor`s account is five (5) months past due, Movant's security interest in said property is not

adequately protected.

                                                    6.

            Pursuant to 11 U.S.C. § 362, Movant is entitled to a termination of the Automatic Stay

   with respect to its secured property, for cause, since the lack of adequate protection exists.

            WHEREFORE MOVANT PRAYS:

                   (a)    That the Automatic Stay entered by this Honorable Court
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pursuant to 11 U.S.C. § 362 be modified so as to permit the Movant to exercise its right to

foreclose its secured property under the terms of its Note and Security Deed;

               (b)    That the Movant's secured Property be abandoned as property of the

estate;

               (c)    That the costs and fees associated with the filing and prosecution of this

Motion by Movant, including but not limited to the $150.00 filing fee, be borne by Debtor; and

               (d)    For such other and further relief as this Court deems just and proper.

                                                    RUBIN LUBLIN SUAREZ SERRANO,
                                                    LLC

                                                    /s/ Lisa F. Caplan
                                                    Lisa F. Caplan
                                                    Attorney for BAC
                                                    GA. State Bar No. 001304
Rubin Lublin Suarez Serrano, LLC
3740 Davinci Court
Suite 100
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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
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LP,                                   :
     Movant,                          :
                                      :                CONTESTED MATTER
vs.                                   :
                                      :
DEMETRIUS DESHON KING                 :
SHARON S. BROWN, Trustee              :
     Respondents.                     :

                                     CERTIFICATE OF SERVICE

         I, Lisa F. Caplan of Rubin Lublin Suarez Serrano, LLC certify that on the 21th day of August,
  2009, I caused a copy of the within Motion for Relief from the Automatic Stay and Notice of
  Assignment of Hearing to be filed in this proceeding by electronic means and to be filed in this
  proceeding by electronic means and to be served by depositing a copy of the same in the United States
  Mail in a properly addressed envelope with adequate postage thereon to the said parties as follows:

  DEMETRIUS DESHON KING
  2532 LANCEWOOD LANE
  LITHONIA, GA 30058


  Anthony B. Sandberg, Esq.
  The Sandberg Law Firm
  229 Peachtree Street, NE,
  International Tower - Suite 705
  Atlanta, GA 30303

  Sharon S. Brown, Trustee
  S. S. Brown & Associates, PC
  4296 Memorial Drive, Suite D
  Decatur, GA 30032
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United States Trustee - Atlanta
Office of the US Trustee
75 Spring Street, SW, Suite 362
Atlanta, GA 30303




I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.


Executed on: 8/21/09                By: /s/ Lisa F. Caplan

Lisa F. Caplan
Georgia State Bar No. 001304
Rubin Lublin Suarez Serrano, LLC
3740 Davinci Court
Suite 100
Norcross, GA 30092
(888) 890-5309
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